Case 2:24-cv-00031-RJS-CMR Document 55 Filed 07/09/24 PageID.1019 Page 1 of 4



 DAVID N. WOLF (6688)
 DOUGLAS CRAPO (13704)
 LANCE F. SORENSON (10684)
 Assistant Utah Attorneys General
 Utah Attorney General
 160 East 300 South, 6th Floor
 PO Box 140856
 Salt Lake City, UT 84114-0856
 Telephone: (801) 366-0100
 lancesorenson@agutah.gov

  Counsel for Defendants


                           IN THE UNITED STATES DISTRICT COURT
                             IN AND FOR THE DISTRICT OF UTAH


  HANNAH PAISLEY ZOULEK, a Utah resident;
  JESSICA CHRISTENSEN, a Utah resident; LU          NOTICE OF SUPPLEMENTAL
  ANN COOPER, a Utah resident; M.C., a Utah               AUTHORITY
  resident, by and through her
  parent, LU ANN COOPER; VAL SNOW, a Utah            Case No.: 2:24-cv-00031-RJS-CMR
  resident; and UTAH YOUTH
  ENVIRONMENTAL SOLUTIONS, a Utah                         Judge Robert J. Shelby
  association,
                                                    Magistrate Judge Cecilia M. Romero
                                      Plaintiffs,

  v.

  SEAN D. REYES, in his official capacity as
  Attorney General of Utah, and

  KATHERINE HASS, in her official capacity as
  Director of the Division of Consumer Protection
  of the Utah Department of Commerce,

                                    Defendants.
Case 2:24-cv-00031-RJS-CMR Document 55 Filed 07/09/24 PageID.1020 Page 2 of 4



         Pursuant to DUCivR 7-1(c), Defendants Sean Reyes and Katherine Hass submit this Notice

 of Supplemental Authority pertaining to two recent decisions of the United States Supreme Court.

 Moody v. NetChoice

         On July 1, 2024, the United States Supreme Court issued its opinion in Moody v. NetChoice,

 603 U.S. --, (2024), 2024 WL 3237685. A copy of the Moody decision is attached hereto as Exhibit A.

         Plaintiffs assert that “the Act is facially invalid.” Pls.’ Mot. for Prelim. Inj., ECF No. 37, p.

 20. In Moody, the Supreme Court vacated decisions of both the Fifth and Eleventh Circuit Courts

 because those courts failed to “properly consider[] the facial nature of [plaintiff’]s challenge.” Moody,

 Exhibit A, p. 3. The Court then offered a detailed explanation of the standard that courts must apply

 when considering facial challenges.

         For example, the Court said, “[Plaintiff] chose to litigate these cases as facial challenges, and

 that decision comes at a cost. For a host of good reasons, courts usually handle constitutional claims

 case by case, not en masse. See Washington State Grange v. Washington State Republican Party, 552 U. S.

 442, 450–451 (2008). ‘Claims of facial invalidity often rest on speculation’ about the law’s coverage

 and its future enforcement. Id., at 450. And ‘facial challenges threaten to short circuit the democratic

 process’ by preventing duly enacted laws from being implemented in constitutional ways. Id., at 451.

 This Court has therefore made facial challenges hard to win.” Moody, Exhibit A, p. 9.

         The Court specifically identified the necessary steps for addressing a facial challenge in the

 context of the First Amendment. “Before a court can do anything else with these facial challenges, it

 must address that set of issues—in short, must ‘determine what [the law] covers.’ Hansen, 599 U. S.,

 at 770. The next order of business is to decide which of the laws’ applications violate the First

 Amendment, and to measure them against the rest.” Id. at p. 11. “To decide the facial challenges

 here, the courts below must explore the laws’ full range of applications—the constitutionally

 impermissible and permissible both—and compare the two sets.” Id. at p. 12.



                                                      1
Case 2:24-cv-00031-RJS-CMR Document 55 Filed 07/09/24 PageID.1021 Page 3 of 4



         This supplemental authority is relevant because here, as in Moody, Plaintiffs must set forth

 the full range of the law’s application to discuss its constitutional applications weighed against its

 allegedly unconstitutional applications (which they have not done).

 Free Speech Coalition v. Paxton

         On July 2, 2024, the Supreme Court granted a cert petition to consider the Fifth Circuit’s

 decision applying rational basis to an age assurance law in Texas. See Free Speech Coalition v. Paxton, --

 S. Ct. --, 2024 WL 3259690. That case is likely to be decided during the Court’s 2024 Term.

 Defendants referenced both the Fifth Circuit decision and the Supreme Court’s denial of emergency

 relief on page 30 of their Memo. in Opp. to Plaintiff’s Mot. for Prelim. Inj., ECF No. 52.



                                         DATED: July 9, 2024

                                         OFFICE OF THE UTAH ATTORNEY GENERAL



                                         /s/ Lance Sorenson
                                         DAVID WOLF
                                         LANCE SORENSON
                                         Assistant Utah Attorneys General
                                           Counsel for Defendants




                                                     2
Case 2:24-cv-00031-RJS-CMR Document 55 Filed 07/09/24 PageID.1022 Page 4 of 4



                                 CERTIFICATE OF SERVICE


        I hereby certify that on July 9, 2024, I electronically filed the foregoing, DEFENDANTS’
 NOTICE OF SUPPLEMENTAL AUTHORITY by using the Court’s electronic filing system
 which will send a notice of electronic filing to the following:

 Jerome H. Mooney
 Weston Garrou & Mooney
 Jerrym@mooneylaw.com

 Adam Sieff
 Ambika Kumar
 Chelsea T. Kelly
 David M. Gossett
 Davis Wright Tremaine, LLP
 adamsieff@dwt.com
 ambikakumar@dwt.com
 davidgossett@dwt.com

 Kelley Bregenzer
 Robert Corn-Revere
 Foundation for Individual Rights and Expression
 bobcornrevere@dwt.com

  Counsel for Plaintiff



                                      UTAH ATTORNEY GENERAL’S OFFICE

                                      /s/ Seth A. Huxford
                                      SETH A. HUXFORD
                                      Legal Secretary




                                                   3
